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UNITED sTATEs DISTRICT COURT MW [_'
FOR THE [‘H_\;‘_L,,» __p -_ __ _. _ ._/..J.
wEsTERN DlsTRICT oF TENNESSEE
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CU;H ila olsT. c'r.

UNITED STATES 0F AMERICA ) W_D mr m MEMP:~:PS
) Criminal NO. 05-20210-Ma

vs. )
)

DARYL ROSS )

APPLICATION. ORDER AND WRIT FOR HABEAS CORPUS AD PROSEOUENDUM

The United States Attorney's Office applies to the Court for a Writ to have DARYL ROSS

 

DOB: 10/03/1968: RNI: 10021. now being detained in the Tennessee Department of Corrections,
Henning, TN., for Initial Appearanee before the Honorable Judge Tu M. Pham on Wednesday,
June 22, 2005, @ 2:00 p.m. and for such other appearances as this Court may direct.

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Respeetfully submitted this 13th day of June, 2005

E. <YEGLHFULY, Jkr;?
Spe al Assist nt U. S. Att ey

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Upon consideration of the foregoing Application, DAVID G. JOLLEY, U.S. MARSHAL, WESTERN
DIsTRlCT 0F TENNESSEE, MEMPHIS, TN. AND wARDEN OF TENNESSEE DEPARTMENT OF
CORRECTIONS, HENNING, TN.

YOUR ARE HEREBY COMMANDED to have DARYL ROSS. DOB: 10/03/1968;
RNI: 10021, appear at the date and time aforementioned

ENTERED¢his 13 day of.hme, 2005.

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UNITED sTATEs MAGISTRAT`E`FUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CR-202]0 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

